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                                                                                    United States District Court
                                                                                      Southern District of Texas

                                                                                         ENTERED
                       IN THE UNITED STATES DISTRICT COURT                             August 13, 2018
                                                                                      David J. Bradley, Clerk
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

NATIONAL OILWELL VARCO, L.P.,                    §
                                                 §
                       Plaintiff,                §
                                                 §
v.                                               §
                                                 §     CIVIL ACTION NO. H-16-2261
SADEESH SADAGOPAN,                               §
MAJED HAMDAN, and                                §
KHALED ZANTOUT                                   §
                                                 §
                       Defendants.               §

                                     FINAL JUDGMENT

       Based on the accompanying Memorandum and Opinion Entering Findings of Fact and

Conclusions of Law, NOV is entitled to recover from Sadeesh Sadagopan, Majed Hamdan, and

Khaled Zantout, jointly and severally, the following:

       (1) $12,220,102.37 in actual damages;

       (2) post-judgment interest at 2.44% per annum as provided by law from entry of judgment
       until paid; and

       (4) the costs of court as provided in Rule 54(d) of the Federal Rules of Civil Procedure.

This is a final judgment consistent with this order.

               SIGNED on August 13, 2018, at Houston, Texas.

                                               ______________________________________
                                                          Lee H. Rosenthal
                                                    Chief United States District Judge
